 

Case 2:05-cr-00316-DSF Document 294 Filed 12/05/06 Page lofi Page ID #:227

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

 

 

 

 

 

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Case No. CR 05-316-DSF Ia INAL Date December 5, 2006
Present: The Honorable DALE 8S. FISCHER, UNITED STATES DISTRICT JUDGE
Interpreter N/A
PAUL PIERSON NOT PRESENT NOT PRESENT
Deputy Clerk Court Reporter Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Defendants: | Present App. Ret.
4) WILLIAM H. NURICK NOT X 4) Gregory Nicolaysen NOT xX

Proceedings: (INCHAMBERS) ORDER APPOINTING REPLACEMENT CJA COUNSEL

The Court has been advised that Darlene Ricker has closed her law practice and tendered her resignation
to the State bar of California. The Court appoints Gregory Nicolaysen from the CJA panel to represent William
Nurick.

 

 

 

 

 

 

 

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ce: U.S. MARSHAL : | DEC -6 2006
U.S. PROBATION OFFICE - Assignment Coordinator p-
U.S. PRETRIAL SERVICES BY_ “F029
Time: :‘N/A

Initials of Deputy Clerk i

 

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